 Case: 6:18-cv-00281-CHB Doc #: 28 Filed: 04/23/19 Page: 1 of 3 - Page ID#: 314



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

  UNITED STATES OF AMERICA,                         )
                                                    )
           Plaintiff,                               )         Civil Action No. 6:18-CV-281-CHB
                                                    )
  v.                                                )
                                                    )           WARNING ORDER AND
  ESTATE OF VESTA FLANNERY,                         )         APPOINTMENT OF WARNING
  DECEASED, et al.,                                 )             ORDER ATTORNEY
                                                    )
           Defendants.
                                        ***   ***       ***    ***
       This matter is before the Court on the plaintiff’s Motion for Issuance of Warning Order

and for Appointment of Warning Order Attorney for Defendants Doug Flannery and Donna

Flannery [R. 19]. Having reviewed the Motion, and the Court being otherwise sufficiently

advised,

       IT IS HEREBY ORDERED as follows:

       1. The United States of America’s Motion for Issuance of Warning Order and for

            Appointment of Warning Order Attorney for Defendants Doug Flannery and

            Donna Flannery [R. 19] is GRANTED.

       2. Pursuant to Rules 4(e)(1) and 4(g) of the Federal Rules of Civil Procedure and

            Rules 4.05, 4.06, 4.07 and 4.08 of the Kentucky Rules of Civil Procedure, the

            following practicing attorney in good standing with this Court is hereby appointed

            Warning Order Attorney for Defendants Doug Flannery and Donna Flannery:

                                    Greta Stamper Price
                                    1460 W. Cumberland Gap Parkway
                                    Corbin, KY 40701



                                               -1-
Case: 6:18-cv-00281-CHB Doc #: 28 Filed: 04/23/19 Page: 2 of 3 - Page ID#: 315



    3. The Warning Order Attorney shall make diligent efforts to inform the Defendant

        by mail concerning the pendency and nature of this mortgage foreclosure action; and

        must report the results of his/her efforts within fifty (50) days from the date of

        entry of this Order. The Warning Order Attorney shall provide a copy of the

        report to counsel of record for the United States of America. In connection with

        his/her efforts to notify the Defendant, the Warning Order Attorney is authorized to

        incur reasonable expenses such as postage, expenses attendant to public records,

        searches, expenses attendant to on-line location services, and telephone charges.

        The Warning Order Attorney is not authorized to incur, without leave of Court,

        extraordinary expenses such as newspaper advertisement charges and private

        investigator fees.

    4. If the Warning Order Attorney cannot inform the Defendant concerning this

        action, he/she shall so report to the Court and shall then make a defense by

        answer if the Warning Order Attorney is able to do so. If unable to make a

        defense, the Warning Order Attorney shall so report.

    5. The Plaintiff’s cause of action is for the foreclosure of Plaintiff’s mortgage lien(s)

        on the subject real property. The Plaintiff’s motion for entry of this order sets

        forth the property’s address and the Defendant’s last known address to the

        Plaintiff. Upon receipt of its copy of this Order from the Clerk, counsel for the

        Plaintiff shall cause to be delivered, by mail or electronic means, to the Warning

        Order Attorney’s office the following: a copy of the Complaint, a copy of the

        Plaintiff’s motion for this order, and a copy of this Order.

    6. At the time of filing of the report, the Warning Order Attorney may also file a


                                            -2-
Case: 6:18-cv-00281-CHB Doc #: 28 Filed: 04/23/19 Page: 3 of 3 - Page ID#: 316



        motion and affidavit for payment of the Warning Order Attorney’s fee and

        expenses. The Court will award the Warning Order Attorney the customary fee

        for such services as well as reasonable expenses. The Warning Order Attorney’s

        fee and expenses shall be taxed as costs.

    7. Whereas Plaintiff’s payment policies for said Warning Order Attorney’s fees

        and expenses require, on average, sixty (60) days for payment. In the event that the

        above appointed Warning Order Attorney has objection to said payment

        schedule, he/she should move the Court for an Order withdrawing from this case

        within ten (10) days of entry hereof. Otherwise, he/she shall be deemed subject to

        Plaintiff’s payment schedule.

        This the 23rd day of April, 2019.




                                            -3-
